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ALLIANCE MARKETING GROUP, LLC,

Plaintiff,
v. Cv. No. 05-2357-Ma
SUN GROUP, INC.,

Defendant.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

TP IS ORDERED AND ADJUDGED that this action is dismissed
without prejudice, in accordance With the Ordar of Dismissal,
docketed August 23, 2005.

APPROVE%%{H !

SAMUEL H. MAYS, JR.

UNITED S'I‘ATES DISTRICT JUDGE
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This notice confirms a copy of the document docketed as number 11 in
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Honorable Samuel Mays
US DISTRICT COURT

